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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                    CASE NO. 1:97-cr-00046-MP

ALPHONSO MCEASTER,

      Defendant.
___________________________/

                                             ORDER

       This matter is before the Court on Doc. 273, Motion to Terminate Probation, filed by Mr.

McEaster.     The motion is denied at this time, as the Court is not yet “satisfied that such action

is warranted by the conduct of the defendant released and the interest of justice.” 18 U.S.C. §

3583(e)(1).


       DONE AND ORDERED this 3rd day of April, 2008


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge
